 Fill in this information to identify the case:

 Debtor name          LIVINGSCAPES, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         3:20-bk-03561
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of
                                                                                                                                            debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                                 Last 4 digits of account
                                                                                                                 number


            3.1.     FOURTH CAPITAL BANK                                         CHECKING                                                                $20,000.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                         $20,000.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                60,000.00   -                                0.00 = ....                            $60,000.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                    page 1
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 12.       Total of Part 3.                                                                                                          $60,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           MISC. OFFICE FURNITURE & SUPPLIES                                                $0.00                                         $1,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $1,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


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     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2006 ISUZU NPR ($8000)                                                 $0.00                                         $8,000.00


           47.2.     2004 ISUZU NPR ($8000)                                                 $0.00                                         $8,000.00


           47.3.     KAUFMAN DUMP TRAILER                                                   $0.00                                         $6,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           2018 BOBCAT T650                                                                 $0.00                                       $45,000.00


           PUSH MOWER ($400), 60" ZTR ($4000), 48"
           WALK BEHIND ($2000)                                                              $0.00                                         $6,400.00


           PLEASE SEE INVENTORY ATTACHED                                                    $0.00                                         $8,430.00



 51.       Total of Part 8.                                                                                                          $82,330.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
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            apartment or office building, if
            available.
            55.1. DEBTOR HAS A
                     POSESSORY
                     INTEREST IN 3941
                     STEWARTS LANE,
                     NASHVILLE, TN.
                     THIS IS WHERE THE
                     DEBTOR'S OFFICE IS
                     LOCATED, AND
                     DEBTOR LEASES
                     THIS SPACE. THERE
                     IS NO ESTIMATED
                     CASH VALUE.                          LEASE                             $0.00                                              $0.00




 56.        Total of Part 9.                                                                                                                $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
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           country club membership
           $10,000 RETAINER PAID TO ATTORNEY COLIN
           CALHOUN BY LIVINGSCAPES, LLC PRIOR TO FILING
           TO REPRESENT LIVINGSCAPES, LLC, LG
           ORNAMENTALS, & JAMES LIVINGSTON AS A JOINT
           DEFENSE. IF RETAINER IS NOT USED, IT IS DEBTOR'S
           UNDERSTANDING THAT IT WILL BE RETURNED TO
           LIVINGSCAPES, LLC.                                                                                                          $10,000.00


           INSURANCE PROCEEDS FROM DAMAGE TO TRUCK
           $11,579.48.                                                                                                                 $11,579.48




 78.       Total of Part 11.                                                                                                        $21,579.48
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




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 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $20,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $60,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $82,330.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $21,579.48

 91. Total. Add lines 80 through 90 for each column                                                            $184,909.48           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $184,909.48




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   Equipment                           Quantity   Total Value                                      Quantity    Total Value
String Trimmers        FS 91R             1        $150.00        Misc            A-Frame             1         $150.00
                  FS 90 R - Tlr Atch      1         $175                         Little Giant         1         $125.00
                                        Total      $325.00                    Extension Ladder        1          $50.00
   Trimmers            Shears             1        $100.00                        Plant Tarp          2          $75.00
                       Shears             1        $175.00                         Ball Cart          1         $125.00
                       Shears             1        $175.00                     Wheel Barrow           2          $80.00
                                        Total      $450.00                    Tri-Pod Sprinkler       1          $20.00
                                                                               Watering Wand          1          $10.00
                                                                                     5 GL             2          $20.00
                                                                                    2.5GL             4          $40.00
   Blowers           Backpack             4        $800.00                           Level            1          $15.00
                                        Total      $800.00                     Misc Masonary                     $30.00
                                                                               Power Washer            1        $150.00
                                                                               Debris Loader           1        Salvage
                                                                                                     Total      $740.00
Misc Hand Tools     Anvil Loper           3        $35.00
                   Bypass Pruner          1        $10.00       Turf Care   Walk Behind- Aerator       1        Salvage
                                                                            Walk Behind Aerator        1        Salvage
                  Round Tip Shovel        5        $50.00                        48" -Walk             1        Salvage
                    Manual Pump           1        $15.00                   Broadcast Spreader         1        $150.00
                   Transfer Shovel        1        $10.00                       Skid Sprayer           1        $500.00
                         Spade            2        $75.00                    Solo Sprayer 3 Gal.       2         $80.00
                  Trenching Shovel        1        $20.00                         61" ZTR              1       $3,000.00
                     Hand Trowel          2        $10.00                        48" -Walk             1       $1,500.00
                   Sledge Hammer          1        $25.00                     Chem Lawn Gun            1         $50.00
                      Hard Rake           2        $20.00                           J-D 9              1         $40.00
                      Leaf Rake           4        $35.00                     Front Tyne Tiller        1        $150.00
                   Regular Broom          2        $15.00
                     Push Broom           2        $25.00
                     Pruning Saw          2        $20.00
                     Bristle Brush        2        $10.00                                            Total     $5,470.00
                         Matic            1        $15.00
                       Rock Bar           1        $20.00
                       Hay Fork           1        $25.00                     Total Equipment      $8,430.00
                  Post Hole Digger        1        $20.00
                         Tamp             1        $15.00
                     Garden Hoe           2        $20.00
                                        Total      $490.00

  Shop Tools        Bolt Cutter           1        $10.00
                  Air Compressor          1        $75.00
                   Bench Grinder          1        $20.00
                    Corded Drill          1        $20.00
                  Extension Cord          3        $30.00
                                        Total      $155.00




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